Case 6:20-cv-06063-SOH Document 1-1        Filed 06/16/20 Page 1 of 56 PageID #: 5




                           EXHIBIT A
                       TO NOTICE OF REMOVAL



             REDACTED PLEADINGS, PROCESS & ORDER

          OF GARLAND COUNTY CIRCUIT COURT ACTION

                                      IN

       Irff ry Tauth, M.D. v. National Park Cardiology     Services, et al.

             Garland County Circuit Court No. z6CV-2o-7zg
 -   Not an Official
       Case          Document
             6:20-cv-06063-SOH Document 1-1                                           #: 6I of4
                                                   Filed 06/16/20 Page 2 of 56 PageIDPage


     Report Selection Griteria

      Case   lD:            26CV-20-729
      Citation No:
      Docket Start Date:
      Docket Ending Date:


     Gase Description

      Case lD:     26CV-20-729 - JEFFREY TAUTH MD V NAT PARK CARDIOLOGY SVCS
                   ETAL -NON.TRIAL
      Filing       Friday , June 12th,2020
      Date:
      Gourt:       26 - GARLAND
      Location     CI - CIRCUIT
      Type:        IJ - INJUNCTION
      Status:      OPEN - CASE OPEN
      lmages:




 Case Event Schedule

 No case events were found,

 Case Parties

     seq       End
         Assoc           Type                           ID          Name
       #       Date
        1                JUDGE                          7965450     18TH EAST CIRCUIT
                                                                    DtvtsloN   r


                                                         Aliases: WRIGHT


        2                PLAINTIFF                      16912826 TAUTH, JEFFREY
                                                         Aliases: none


        6                DEFENDANT                      16912829 NATIONAL PARK
                                                                 CARDIOLOGY SERVICES
                                                         Aliases: none



https://caseinfo.arcourts.gov/cconnect/PROD/public/cklublic_qry_doct.cp_dktrpt_docket... 611612020
- NotCase
      an Official Document
          6:20-cv-06063-SOH Document 1-1                                           Page2
                                                  Filed 06/16/20 Page 3 of 56 PageID #: 7 of     4



      4                  DEFENDANT                      16912827 HOT SPRINGS
                                                                 NATIONAL PARK
                                                                 HOSPITAL HOLDINGS
                                                                 LLC
                                                         Aliases: none


      5                  DEFENDANT                      16912828 LIFEPOINT HEALTH INC.
                                                         Aliases: none


      3                 PLAINTIFF/PETITION ER          l_qaffi     CULLEN, TIMOTHY
                        ATTORNEY                                   JAMES
                                                         Aliases: CULLEN, TIMOTHY        J
                                                                   CULLEN, TIM




 Violations




 Sentence

 No Sentence lnfo Found




 Milestone Tracks

 No Milestone Tracks found,

 Docket Entries

  Filing                                                                             Monetary
               Description                             Name
  Date
  06t12t2020 EXHIBITS                                  CULLEN, TIMOTHY
  02:58 PM                                             JAMES
  Entry:       none.



https://caseinfo.arcourts.gov/cconnect/PROD/public/ckjublic_qry_doct.cp_dktrpt_docket... 61I612020
      an Offrcial
- NotCase         Document
          6:20-cv-06063-SOH      Document 1-1                                        #: 83 of4
                                                                                   Page
                                                  Filed 06/16/20 Page 4 of 56 PageID


  lmages       No lmages


  06t12t2020 EXHIBITS                                  CULLEN, TIMOTHY
  02:58 PM                                             JAMES
  Entry        none
  lmages       No lmages


  06t12t2020 EXHIBITS                                  CULLEN, TIMOTHY
  02:58 PM                                             JAMES
  Entry        none.
  lmages       No lmages


  06t12t2020 AFFIDAVIT FILED                           CULLEN, TIMOTHY
  02:58 PM                                             JAMES
  Entry:       none
  lmages       No lmages


  06t12t2020 COMPLAINT/PETITION FILED $                CULLEN, TIMOTHY
  02:58 PM                                             JAMES
  Entry:       none
  lmages       No lmages


  06t12t2020 AOC COVERSHEET CIVIL                      CULLEN, TIMOTHY
  02:58 PM                                             JAMES
  Entry        none
  lmages       No lmages


  06t12t2020 MOF ORIGINAL                              CULLEN, TIMOTHY
  02:58 PM                                             JAMES
  Entry:       none.
  lmages       No lmages


  06t12t2020 PAYMENT RECEIVED
  03:48 PM




https://caseinfo.arcourts.gov/cconnect/PROD/public/ckjublic_qry_doct.cp_dktrpt_docket... 61I612020
      an Official
- NotCase         Document
          6:20-cv-06063-SOH      Document 1-1                                         #: 94 of
                                                                                    Page
                                                   Filed 06/16/20 Page 5 of 56 PageID              4



  Entry:       A Payment of $165.00 was made on receipt 26C111440
  lmages        No lmages


  06t1212020 ORDER RESTRAINING WITH                    18TH EAST CIRCUIT
  05:31 PM   HEARING                                   DIVISION I,
  Entry        none
  lmages       No lmages


  06t15t2020 LETTER FROM COURT
  03:28 PM
  Entry:       RECUSAL LETTER
  lmages



  06t15t2020 LETTER TO COURT
  04:14 PM
  Entry        HEARNSBERGER WILL NOT TAKE
  lmages



  06t16t2020 LETTER
  09:33 AM
  Entry:       RECUSAL RESPONSE - DIV II ''WILL NOT TAKE''
  lmages




https://caseinfo.arcourts.gov/cconnect/PROD/public/ckjublic_qry_doct.cp_dktrpt_docket...   611612020
      Case 6:20-cv-06063-SOH Document 1-1                                                    Filed 06/16/20 Page 6 of 56 PageIDPage I of I
                                                                                                                                #: 10


             )   Sesreh   trlume ) btre$.r $esrch     ) Re*srt $e$ectian ) Sa*e Sescriu{ion } Event                                                   Sekedr.r$e

                           | *see Fs,rtie.*  ) Vdo$sfions       ) ltr{ilestone Treckftnq } Eocket Entrie*
 @   2017 Conduent Business Services, LLC. All rights reserved. Conduent and Conduent Agite Star are hademarks of Conduent Business Services, LLC in the United States and/or
                                                                                other countries.

           display, ordisclosure ofthis material orthe information contained herein is prohibited.UserAccepts/Agrees   to Disclaimer, Notforofiicial use. Branding # 8R1041




https://caseinfo.arcourts.gov/cconnect/PROD/public/ckjublic_qry_doct.cp_dktrpuoc?ba... 61I612020
Case 6:20-cv-06063-SOH Document 1-1     Filed 06/16/20 Page 7 of 56 PageID #: 11

                                                                 ELECTRONICALLY FILED
                                                                      Garland County Clrcull Court
                                                              Jeannie PikE, Garland Co. Circuit Court Clerk
                                                                    2020-Jun-12 14:58:21
                                                                        26CV-20-729
                                                                      C1BED01 :5 Pages



         IN THE CIRCUIT COURT of GARLAND COUNTY, ARKANSAS
                           CIVL DIVISION

    JEFFREY TAUTH, M.D.                                     PLAINTIFF

    v.                       Case No.

    (A) NATIONAL PARK CARDIOLOGY SERVICES, LLC
    dlblz Hot Springs Cardiology Associates;
    (B) HOT SPRTNGS NATTONAL PARK HOSPITAL HOLDTNGS, LLC
    dlbla National Park Medical Center; and
    (C) LIFEPOINT HEALTH,INC. dlbla LifePoint Health
                                                     DEFENDANTS

            PETITION FOR TEMPORARY RESTRAINING ORDER
                      ruo BE FrLEp UNpER SEA_L)




                     REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 8 of 56 PageID #: 12




                      REDACTED




                                      2
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 9 of 56 PageID #: 13




                    REDACTED




                                      J
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 10 of 56 PageID #: 14




                        REDACTED




                                      4
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 11 of 56 PageID #: 15




                                      5
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 12 of 56 PageID #: 16

                                                                                    ELECTRONICALLY FILED
                                                                                        Garland County Circult Court
                                                                                Jeannle Plke, Garland Co. Clrcult Court Clerk
                                                                                       2020-Jun-12 14:58:21
                                        Lyndd M. Johnson          Attorn"y       Woct capilol
                                                                                                26ev -20-729
                 HLSMHffiSH                                   I



 FMBMAVi
                                                   Diracl: (501) 370-1653         2000
                                                     Fax (501) 244-6021
                                                                                                                  es
                 .q   ff[-.&$QK,,,,
                                        E-mall: ljohnson@tdday{lrm.com       www.FrldayFirm,com




                                      REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 13 of 56 PageID #: 17




                         REDACTED




     l,
Case 6:20-cv-06063-SOH Document 1-1        Filed 06/16/20 Page 14 of 56 PageID #: 18




                                   REDACTED




                                       2
     lrEC\771803   Lvl -6/l I D0
Case 6:20-cv-06063-SOH Document 1-1          Filed 06/16/20 Page 15 of 56 PageID #: 19




                                        REDACTED




                                             3
     FEC\7?l 803   l.vl   -611   l/20
Case 6:20-cv-06063-SOH Document 1-1         Filed 06/16/20 Page 16 of 56 PageID #: 20




                                   REDACTED




                                        4
     l:HC\771803   l.vl -6/l lnA
Case 6:20-cv-06063-SOH Document 1-1                Filed 06/16/20 Page 17 of 56 PageID #: 21




                                          REDACTED




                                               5
     IiEC\771803   I   .v I -6ll   l/20
Case 6:20-cv-06063-SOH Document 1-1       Filed 06/16/20 Page 18 of 56 PageID #: 22




                                  REDACTED




                                      6
     FEC\771 803   l.vl -6/lln0
Case 6:20-cv-06063-SOH Document 1-1         Filed 06/16/20 Page 19 of 56 PageID #: 23




                                   REDACTED




                                        7
     FEC\77 1803   I.vl -6lll/20
Case 6:20-cv-06063-SOH Document 1-1        Filed 06/16/20 Page 20 of 56 PageID #: 24




                                    REDACTED




                                       8
     IiFIC\771 803   l.vl "6/l WO
Case 6:20-cv-06063-SOH Document 1-1       Filed 06/16/20 Page 21 of 56 PageID #: 25




                                      9
     FDC\7718031.v1 -611   1n0
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 22 of 56 PageID #: 26


                                                             ELECTRONICALLY FILED
                                                                  Garland County Clrcult Court
                                                          Joannle Plke, Oarland Co. Circuit Court   Cle*
                                                                2020-Jun-12 14:58:21
                                                                    26CV-20-729
                                                                 C18ED01 :20 Pages




                          REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 23 of 56 PageID #: 27




                           REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 24 of 56 PageID #: 28




                          REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 25 of 56 PageID #: 29




                          REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 26 of 56 PageID #: 30




                           REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 27 of 56 PageID #: 31




                          REDACTEI)
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 28 of 56 PageID #: 32




                           REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 29 of 56 PageID #: 33




                           REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 30 of 56 PageID #: 34




                           REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 31 of 56 PageID #: 35




                           REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 32 of 56 PageID #: 36




                          REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 33 of 56 PageID #: 37




                           REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 34 of 56 PageID #: 38




                           REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 35 of 56 PageID #: 39




                           REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 36 of 56 PageID #: 40




                           REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 37 of 56 PageID #: 41




                          REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 38 of 56 PageID #: 42




                           REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 39 of 56 PageID #: 43




                           REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 40 of 56 PageID #: 44




                           REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 41 of 56 PageID #: 45




                          REDACTED
Case 6:20-cv-06063-SOH Document 1-1                                      Filed 06/16/20 Page 42 of 56 PageID #: 46




      I          Janet L. Pu[liam
                   ADR             Scrategies
                 Invtlrrortri lllr0ntrl ltrrntrr j Irtreltr
                                                                                                                         ELECTRONICALLY FILED
                                                                                                                              Galland County Circult Court
                                                                                                                      Jeannie Plko, Garland Co, Chcult Court Clerk
                                                                                                                            2O20-Jun-12 14:58:21
                                                                                                                                26CV-20-729
                                                                                                                             C18ED01 :3
     Pullinmlow0ffires,Pl.P0Bor/lSS.tillltRotk,AR/2?l/.oflire50l-664./405.t011501.?40.S4g4.ionorlpullicmGrsbtglobol.net.www.pulhomodr.eom




      May27,2O2O




                                            REDACTEI)
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 43 of 56 PageID #: 47




                      REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 44 of 56 PageID #: 48




                              REDACTED




                        REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 45 of 56 PageID #: 49

                                                               ELECTRONICALLY FILED
                                                                    Garland County Clrcult Court
                                                            Jeanni€ Plke, Garland Co. Circuit Court Clerk
                                                                  2020-Jun-12 14:58:21
                                                                      26CV-20-729
                                                                    C18ED01 :3 Pages

                    AFFIDAVTT OF JEFFREY TAUTH, M.D.




                       REDACTED




                                      1
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 46 of 56 PageID #: 50




                      REDACTED




                                      2
Case 6:20-cv-06063-SOH Document 1-1       Filed 06/16/20 Page 47 of 56 PageID #: 51




                     REDACTED




                                      3
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 48 of 56 PageID #: 52




          IN THE CIRCUIT COURT of GARLAND COUNTY, ARKANSAS
                            CNIL DIVISION

     JEFFREY TAUTH, M.D.                                  PLAINTIFF

     v                        Case No.


     (A) NATIONAL PARK CARDIOLOGY SERVICES, LLC
     dlblz Hot Springs Cardiology Associates;
     (B) HOT SPRINGS NATIONAL PARK HOSPITAL HOLDINGS, LLC
     dlb/a National Park Medical Center; and
     (C) LIFEPOINT HEALTH, INC. dlbla LifePoint Health
                                                       DEF'ENDANTS


                    TEMPORARY RESTRAINING ORDER




                        REDACTED
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 49 of 56 PageID #: 53




                         REDACTED




                                      2
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 50 of 56 PageID #: 54




                        REDACTED




                                      3
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 51 of 56 PageID #: 55

                                                                ELECTRONICALLY FILED
                                                                     Garland County Circuit Court
                                                             Jeannie Plke, Garland Co. Circuit Court Clerk
                                                                   2020-Jun-12 17:31:15
                                                                       26CV-20-729
                                                                     C18ED01        :3   Pages




          IN THE CIRCUIT COURT   OfGARLAND COUNTY, ARKANSAS
                              CIVIL DIVISION

     JEFFREY TAUTH, M.D.                                 PLAINTIFF

     v                        Casc No.


      (A) NATIONAL PARK CARDIOLOGY SERVICES, LLC
      dlbla Hot Springs Cardiology Associatcs;
      (B) HOT SPRINGS NATIONAL PARK IIOSPITAL I{OLDINGS' LLC
      d/b/a National Park Medical Center; and
      (C) LIF'EPOINT IIEALTH,INC. d/b/a LifePoint Health
                                                         DEFENDANTS


                     TEMPOITARY RESTRAINING ORDER




                         REDACTED




                                         1
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 52 of 56 PageID #: 56




                      REDACTED




                                      ')
Case 6:20-cv-06063-SOH Document 1-1   Filed 06/16/20 Page 53 of 56 PageID #: 57




                       REDACTED




                                      J
      Case 6:20-cv-06063-SOH Document 1-1                    Filed 06/16/20 Page 54 of 56 PageID #: 58
                                                                                                ELECTRONICALLY FILED
                                                                                                     Garland County Circuit Court
                                                                                             Jeannie Pike, Garland Co. Circuit Court Clerk
                                                                                                   2020-Jun-15 15:28:47
                                                                                                        26CV-20-729
                                                                                                      C18ED01 :1 Page

                                          JomsHournWrucrr
                                       crRcurr I,TDGB - DMSIoN oNE
                                     r8m{ I,TDICXAL CXRflnT - EAST
                                        5OI.OUACHNA AVEME, SI,'ITB 3II1
                                         Hgf   9PRINGS, ARKAI.ISAS       n90l
 SHEnRf DAf,[BtS,CICI{                Phone (501) 321-1303   .   8at( (501) 623-5149
TruAL COT'NTADMINI'ISITTOR               email: f wrlght@gulandcouttty.org                             SIIARIL HAMNTON,CCR
    dlnhbbtesrutL@t                                                                                          counrREFoRER
                                               June 15,2020

         Hon. Wade Naramore                                        Hon. Lynn Williams
         Circuit Court Judge - Div II                              Circuit Court Judge - Div III
         Via E-mail                                                Via E-mail

         Hon. Marcia Hearnsberger
         Circuit Court Judge - Div IV
         Hand Delivery


                  Re:JeffreyTauttr, M.D. vs (A) National Park Cardiolory Services, LI,C dlbla
                  Hot Springs Cardiolory Associates; (B) Hot Springs National Park Hospital
                  Holdings, LLC dlb/a National Park Medical Center; and (C) LifePoint
                  Health, Inc. d/b/a,LifePoint Health
                  Garland County Circuit Court Case No.: 26CV-2O-729-|

         Dear Judges:

               I am recusing in the above styled cause as I an a patient of that clinic. By
         copy of this letter I would ask if any one of you will hear this case under tlre
         exchange agreement. Should you be unable to do so, a request will be made to
         have a judge appointed by the Administrative Office of the Courts.




                                                                                       t
                                                                     Judge

         Hon. Wade Nara^more                         will talre                            will not take
         Hon. Lynn Williams                          will take                             will not talre
         Hon. Marcia Hearnsberger                    will take                             will not take

         cc: Tim Cullen - via E-mail
  Case 6:20-cv-06063-SOH Document 1-1                   Filed 06/16/20 Page 55 of 56 PageID #: 59
                                                                                        ELECTRONICALLY FILED
                                                                                             Garland County Circuit Court
                                   1                                                 Jeannie Pike, Garland Co. Circuit Court Clerk
                                                                                           2020-Jun-15 16:14:38
                                                                                                26CV-20-729
                                                                                              C18ED01 : 1 Page


                                         fomlHownWnrcsr
                                     qRCurf'UDGB-DIVISION ONE .
                                   rsf,r{ trrDIcIAt CTRCInT - EAST
                                        .OUACHITA, A\'E{n'B, ST'IIB 301
                                       sfl
                                      H('T SPRING9, ANKAI{SAS N9OT
 SHERRIDANIEIS,CCM                 Phure (501)321.1S33 . Fax (5fl) 543'5149
TSIAL@IJKTADMNEI&AIOB                  &nall: f wdght@gadandounty.org                       STIAilLHAMILI\ON, CCR
   dltftbaolcsetdl.o                                                                              cluRTru008ra
                                             June t5,2O2A

       Hon. Wade Naraniore                                  Hon. LSmn Williams
       Circuit Court Judge - Div II                         Circuit Cor:rt Judge - Div III
       Via E-mail                                           Via E-mail

       Hon. Marcia Hearnsberger
       Cirqdt Conrt, Judge - Div tV
       Hand Delivery


                Re:JeffreyTauth, M.D. vs (A) Nadonal Park Cardiolory Senrices, Ll'C dlbla
                Hot Springs CardiologlAssociates! (B) Hot Springs National Park Hospital
                Holdings, LLC dlbla National Park Medical Center; and (C) LifePoint
                Health, Inc, d I b la,LifePoint Health
                Garlarrd County Circuit Cor,rt Case No.: 26CV-2O-729-|

       DearJudges:

             I am resusing in the above styled cause as I nrn a patient of that clinic. By
       copy of this letter I would ask if any one of you will hear this case r:nder the
       exchange agreemenL Should you be rrnable to do so, a request will be made to
       have ajudge appointed by the Administrative Office of the Courts.

                                                                 ,




                                                                              t
                                                               Judge

       Hon, Wade Nararnore                         will take                      will not talce
       Hon. Lynn Williarns
       Hon. Marcia Hearnsberger

        cc: Tim Cullen - via E-mail
                                                   will take
                                                   will talre
                                                                              F   will not talce
                                                                                  will not take
  Case 6:20-cv-06063-SOH Document 1-1                   Filed 06/16/20 Page 56 of 56 PageID #: 60
                                                                                          ELECTRONICALLY FILED
                                                                                               Garland County Circuit Court
                                                                                       Jeannie Pike, Garland Co. Circuit Court Clerk
                                                                                             2020-Jun-16 09:33:53
                                                                                                    26CV-20-729
                                                                                                C18ED01 : 1 Page


                                        foruHormWne'lrr
                                    CXRCUN'UDGB. DMSION ONB
                                  lsilH IIJDICIAT cXRcuIT - BAST
                                     SIII.OUACHIIA A\IB'I['B, 8I'IIB :XIl
                                       HgT SFAII{G$, ARKAI.EA5 NgOI
 srGR$DAl.ltBI^g,CtM               Phone(fltlgl-l33lt   .   8rx(501) 6Zi6,l4e
rflALOlnrAoltS[lrnAt0n                 &nslb tutdght@grrhdcountY.oug                          strARrLllAMlulo!$ ccn
   ltrteFioF4roq                                                                                     @uRrruno*lTn
                                            June 15,2O2O

       Hon. Wade Naramore                                     Hon. Llmn Williams
       Circuit Cor:rt Judge - Div II                          Cireit Court Judge - Div III
       Via E-mail                                             Via E-mail

       Hon. Marcia Hearnsberger
       Circadt Corrrt Judge - Div IV
       Hand Delivery


               Re:JeffreyTauth, M.D. vs (A) National Park Cardiologt Services, LI,C dlbl a
               Hot Springs Cardiolory Associates; (B) Hot Springs National Park Hospital
               Holdings, Ll"C d,lbla Nadonal Park Medical Center; and (C) LifePoint
               Health, Inc. d/b/a,LifePoint Health
               Garland County Circuit Court Case No.: 26CV'2O-729-L

       Dear Judges:

             I am recusing in Ore above styled cause as I an a patient of that clinic. By
       copy of this letter I would ask if any one of you will hear this case under the
       e(change agreemenL Should you be unable to do s{r, a rcquest will be made to
       have a judge appointed by the Adninistrative OIEce of tlre Courts.




       Hon. Wade Naramore
       Hon. Lynn Williarns
       Hon. Marcia Hearnsberger
                                                  will take
                                                  will takc
                                                  will talce
                                                                                x   will not talse
                                                                                    will not take
                                                                                    will not take

        cc: Tim Cullcn - via E-mail
